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 9
                               UNITED STATES DISTRICT COURT
10
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
11
                                             SAN FRANCISCO
12
     TRACY HOWARD, on behalf of herself and         Case No.: ________________
13   those similarly situated,
                                                    CLASS ACTION COMPLAINT FOR
14                              Plaintiff,          VIOLATION OF THE CALIFORNIA
                                                    UNFAIR COMPETITION LAW; FAL;
15          v.                                      COMMON LAW FRAUD; CONSUMERS
                                                    LEGAL REMEDIES ACT; AND UNJUST
16   GERBER PRODUCTS COMPANY,                       ENRICHMENT
17                              Defendant.
                                                    JURY TRIAL DEMANDED
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 1
 2
                                       I.         INTRODUCTION
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            1.      Plaintiff Tracy Howard, by and through her counsel, bring this class action
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     against Defendant Gerber Products Company d/b/a Gerber (“Defendant”) to seek redress for
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     Defendant’s deceptive and unlawful practices in labeling and marketing the Gerber brand baby
 6
     and toddler food products.
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            2.      Parents are increasingly aware of the need to provide healthy food for their
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     children that promotes physical development, especially at the critical age of less than 2 years
 9
     old.
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            3.      Intending to profit from parents’ increasing desire to purchase food for their
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     young children that provides physical health benefits, Defendant misbrands its baby and toddler
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     food products by making nutrient content claims on the product packages that are strictly
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     prohibited by the Food and Drug Administration (“FDA”). Moreover, the nutrient content
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     claims on Defendant’s products mislead purchasers into believing that the products provide
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     physical health benefits for children under two years of age in order to induce parents into
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     purchasing Defendant’s products. In fact, the Products are harmful both nutritionally and
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     developmentally for children under two.
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            4.      Defendant’s misbranding caused Plaintiff and members of the class to pay a
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     price premium for the products.
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                                            II.     PARTIES
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            5.      Tracy Howard is, and at all times alleged in this Class Action Complaint was, an
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     individual and a resident of Redwood City, California. Plaintiff intends to remain in Redwood
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     City and makes her permanent home in Redwood City, California.
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            6.      Defendant Gerber Products Company, is a privately held corporation existing
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     under the laws of the State of Michigan, having its principal place of business in Fremont,
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     Michigan.
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 1                                III.    JURISDICTION AND VENUE
 2          7.      This Court has jurisdiction over the subject matter of this action pursuant to
 3   28 U.S.C. § 1332(d)(2). The aggregate amount in controversy exceeds $5,000,000, exclusive of
 4   interest and costs; and Plaintiff and Defendant are citizens of different states.
 5          8.      The injuries, damages and/or harm upon which this action is based, occurred, or
 6   arose out of activities engaged in by Defendant within, affecting, and emanating from, the State
 7   of California. Defendant regularly conduct and/or solicit business in, engage in other persistent
 8   courses of conduct in, and/or derive substantial revenue from products provided to persons in
 9   the State of California. Defendant has engaged, and continue to engage, in substantial and
10   continuous business practices in the State of California.
11          9.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2) because a
12   substantial part of the events or omissions giving rise to the claims occurred in the state of
13   California, including within this District.
14          10.     In accordance with California Civil Code Section 1780(d), Plaintiff concurrently
15   files herewith a declaration establishing that, at various times throughout the class period, she
16   purchased Gerber Products in Mountain View and Redwood City, California. Plaintiff’s
17   declaration is attached hereto as Exhibit B.
18          11.     Plaintiff accordingly allege that jurisdiction and venue are proper in this Court.
19                              IV.      SUBSTANTIVE ALLEGATIONS
20          12.     Defendant manufactures, distributes, markets, advertises, and sells a variety of
21   baby and toddler food products under the brand name “Gerber.” Many of these products have
22   packaging that predominately, uniformly, and consistently make nutrient content claims on the
23   principal display panel of the product labels (the “Products”). A non-exhaustive list of the
24   Products and the express and implied nutrient content claims made on the product packages is
25   attached hereto as Exhibit A.
26          13.     The Products are intended for children under the age of two. The Products are
27   labeled with the intended age for each Product on the front label. For example, most of the
28   Products, including the Strong pouches, are labeled as being for ages “Toddler 12+ Months.”
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 1   Some Products also include the word “baby” in the product name, such as the “Snacks for Baby
 2   Wonderfoods” which are labeled as being for ages “Crawler 10+ Months.” Other Products are
 3   labeled as being for a “Sitter.” Defendant’s website defines a “sitter” to be a child between 6-8
 4   months.
 5            14.   The Products all feature a prominent photo of a young baby’s face on the front
 6   label.
 7            15.   Many of the Products are baby food “pouches.” These pouches that contain
 8   pureed baby food were introduced to the market over a decade ago, and as of 2018, accounted
 9   for 25 percent of baby food sales in the United States.
10            16.   FDA regulations explicitly prohibit certain nutrient content claims on foods
11   intended for children under the age of two. 21 C.F.R. § 101.13(b)(3).
12            17.   An ever-growing industry, there is seemingly no limit to the combination of
13   foods that can go into baby food pouches, as evidenced by the wide array of flavors of the
14   Products. Looking for a way to differentiate itself in the growing market, Defendant has turned
15   to making nutrient content claims on the front of the Product labels.
16            18.   For example, one line of the Products are pouches called “Plant-tastic” that state
17   on the front label, “2 grams of plant protein” and on the back label, “Nutritious, plant-based,
18   and specially designed to provide 2 grams of protein.” Exemplars are shown below:
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 1           19.     As described in detail below, Defendant’s advertising and labeling of the
 2   Products with nutrient content claims is unlawful, misleading, deceptive, and intended to induce
 3   consumers to purchase the Products at a premium price. These claims deceive and mislead
 4   reasonable consumers into believing that the Products provide physical health benefits for their
 5   child when in fact, the Products are harmful for children under two both nutritionally and
 6   developmentally.
 7                           Federal and State Regulations Governing Food Labeling
 8           20.     The Food and Drug Administration regulates nutrition content labeling.
 9   According to these regulations, “no nutrient content claims may be made on food intended
10   specifically for use by infants and children less than 2 years of age,” subject to certain
11   exceptions not applicable here. 21 C.F.R. § 101.13(b)(3).
12           21.     According to the regulations, nutrient content claims can be expressed or implied.
13   21 C.F.R. § 101.13(b)(1), 21 C.F.R. § 101.13(b)(2).
14           22.     An express nutrient content claim is “any direct statement about the level (or
15   range) of a nutrient in the food.” 21 C.F.R. § 101.13(b)(1). Further, where information that is
16   required or permitted to be “declared in nutrition labeling, and that appears as part of the
17   nutrition label . . . is declared elsewhere on the label or in labeling, it is a nutrient content claim
18   and is subject to the requirements for nutrient content claims.” 21 C.F.R. § 101.13(b)(1).
19           23.     An implied nutrient content claim is any claim that: “(i) Describes the food or an
20   ingredient therein in a manner that suggests that a nutrient is absent or present in a certain
21   amount (e.g., “high in oat bran”); or (ii) Suggests that the food, because of its nutrient content,
22   may be useful in maintaining healthy dietary practices and is made in association with an
23   explicit claim or statement about a nutrient (e.g., “healthy, contains 3 grams (g) of fat”).” 21
24   C.F.R. § 1013(b)(2).
25           24.     The FDA explicitly regulates certain nutrient content claims such as “more”
26   claims. “More” claims use terms such as “more,” “added,” “plus,” or synonyms to describe the
27   level of a nutrient in a food. 21 C.F.R. § 101.54(e). Where the claim is based on a nutrient that
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 1   has been added to the food, the food must comply with the FDA’s Fortification Policy, as stated
 2   in 21 C.F.R. § 104.20. See 21 C.F.R. § 101.54(e)(ii).
 3          25.     The Fortification Policy only allows for fortification under specific circum
 4   Policy goes on to list four circumstances where fortification is appropriate:
                   1. “[T]o correct a dietary insufficiency recognized by the scientific
 5
 6                  community. . .”

 7                  2. “[T]o restore such nutrient(s) to a level(s) representative of the food prior to

 8                  storage, handling and processing. . .”
 9
                    3. “[I]n proportion to the total caloric content. . . to balance the vitamin, mineral,
10
                    and protein content . . . .”
11
                    4. “to avoid nutritional inferiority” when replacing a traditional food.
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13          21 C.F.R. § 104.20(b)-(e).
14          26.     Identical federal and California laws regulate the content of labels on packaged
15   food and require truthful, accurate information on the labels of packaged foods. The
16   requirements of the federal Food, Drug & Cosmetic Act (“FDCA”), and its labeling regulations,
17   including those set forth in 21 C.F.R. § 101, were adopted by the California legislature in the
18   Sherman Food Drug & Cosmetic Law (the “Sherman Law”). California Health & Safety Code §
19   110100 (“All food labeling regulations and any amendments to those regulations adopted
20   pursuant to the federal act, in effect on January 1, 1993, or adopted on or after that date shall be
21   the food labeling regulations of this state.”). The federal laws and regulations discussed herein
22   are applicable nationwide to all sales of packaged food products. Additionally, no state imposes
23   different requirements on labeling of packaged food for sale in the United States.
24          27.     California’s adoption of food regulations that are identical to the federal
25   regulations stems from the state’s “historic police powers” to regulate food labeling, which
26   long-predates the enactment of the FDCA. See Plumley v. Massachusetts, 155 U.S. 461, 472
27   (1894) (“if there be any subject over which it would seem the states ought to have plenary
28   control, and the power to legislate in respect to which … it is the protection of the people
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 1   against fraud and deception in the sale of food products.”); see also Florida Lime & Avocado
 2   Growers v. Paul, 373 U.S. 132, 144 (1963) (“States have always possessed a legitimate interest
 3   in ‘the protection of (their) people against fraud and deception in the sale of food products’ at
 4   retail markets within their borders.”) (citation omitted).
 5          28.     Although California amended its food labeling laws in 1995 in response to the
 6   federal implementation of the 1993 Nutrition Labeling and Education Act, California’s
 7   regulations of food labels predate the enactment of the Sherman Law. For example, the current
 8   Cal. Health & Safety Code § 110660 invoked herein states “[a]ny food is misbranded if its
 9   labeling is false or misleading in any particular.” California originally enacted this regulation in
10   1939, previously found at Cal. Health & Safety Code § 26490. See People v. 748 Cases of Life
11   Saver Candy Drops, 94 Cal. App. 2d 599, 607 (1949) (applying section 26490 prohibition on
12   “labeling is false or misleading in any particular” in food labeling claim in 1949).
13          29.     Under the FDCA, the term “misleading” covers labels that are technically true,
14   but are likely to deceive consumers. Under the FDCA, if any single representation on the
15   labeling is misleading, the entire food is misbranded, and no other statement in the labeling can
16   cure a misleading statement.
17          30.     Further in addition to its blanket adoption of federal labeling requirements,
18   California has also enacted a number of laws and regulations that adopt and incorporate specific
19   numerated federal food laws and regulations. See California Health & Safety Code § 110660
20   (misbranded if label is misleading).
21          31.     Under California law, a food product that is “misbranded” cannot legally be
22   manufactured, advertised, distributed, sold, or possessed. Misbranded products have no
23   economic value and are legally worthless.
24          32.     Representing that the Products will provide certain health benefits by making
25   unlawful nutrient content claims as Defendant’s labels do is prohibited by the aforementioned
26   misbranding laws and regulations.
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 1          33.      The regulations relating to nutrient content claims discussed herein are intended
 2   to ensure that consumers are not misled as to the actual or relative nutritional value of food
 3   products.
 4     Defendant’s Marketing and Labeling of the Products Violates State and Federal Food
                                        Labeling Laws
 5
 6          34.      The Products are unlawful, misbranded, and violate the Sherman Law, California

 7   Health & Safety Code § 110660, et seq., because the Products are intended for children less

 8   than 2 years of age and the Products’ labels contain nutrient content claims.

 9          35.      As described above, the Products at issue in this case are intended for children 6

10   months and up as evidenced on the front labels and in the Product titles.

11          36.      Beyond the Product labels, the Products are also sold in the “Baby Food” grocery

12   store aisles, alongside similar puree pouch products. On information and belief, Defendant

13   directs retailers to sell the Products in the baby food aisle.

14          37.      Defendant misbrands the Products by making nutrient content claims that are

15   strictly prohibited by the FDA, and by misleading purchasers into believing that its Products

16   provide physical health benefits in order to induce parents into purchasing the Products.

17          38.      All the Product labels contain nutrient content claims that are unlawful. As

18   shown in Exhibit A, the Product labels prominently state nutrient content claims on the front

19   label such as “2g of Protein.” The grams of protein appear in the nutrition facts panel and is

20   therefore a nutrient content claim when stated elsewhere on the label. 21 C.F.R. § 101.13(c).

21   The statement of the presence of other nutrients are also express nutrient content claims

22   because it is a direct statement about the level of a nutrient in the product. See 21 C.F.R. §

23   101.13(b)(1).

24          39.      Some Products also include implied nutrient content claims. For example, the

25   “Plaint-tastic” pouches state: “Nutritious, plant-based, and specially designed to provide 2

26   grams of protein.” The explicit statement about protein in conjunction with the term “nutritious”

27   is an implied nutrient content claim. See 21 C.F.R. § 101.13(b)(2); FDA, Guidance for

28   Industry: A Labeling Guide for Restaurants and Other Retail Establishments Selling Away-

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 1   From-Home Foods, 2008 WL 2155726, at *10 (April 2008) (explicit statement about a nutrient
 2   alongside synonyms of healthy, including “nutritious,” are implied nutrient content claims).
 3            40.   Other Products make claims like “1 ½ servings of fruit” or “2 servings of
 4   superfoods.” This suggests that nutrients like fiber and vitamins are present in a certain amount.
 5   Fruits and vegetables are associated with fiber and vitamins. And “superfood” is an industry
 6   term to denote nutrient-dense foods, synonymous with “healthy” and “nutritious.”
 7            41.   Some Products include a “more” claim as defined in 21 C.F.R. § 101.54(e). For
 8   example, the Banana “Wonderfood” pouch states: “with Vitamin C.” In the context of the
 9   claim, “with” is a synonym for “added.” Thus it is a “more” claim, which is a nutrient content
10   claim.
11            42.   The ingredients of the pouches with “more” claims include “Vitamin C
12   (Ascorbic Acid)” and “Vitamin E (Alpha Tocopheryl Acetate).” The “more” claims on these
13   Products are based on a nutrient that has been added to the food, and the Products must comply
14   with the Fortification Policy as stated in 21 C.F.R. § 104.20.
15            43.   Foods intended for children less than two are prohibited from making such
16   nutrient content claims. 21 C.F.R. § 101.13(b)(3). Therefore, the Products are accordingly
17   misbranded.
18            44.   The Products with “more” claims are also unlawfully fortified. None of the four
19   sanctioned bases for fortification is present here. There is no recognition by the scientific
20   community that there is a dietary insufficiency in Vitamin C or E. To the contrary, as the FDA
21   has recognized, dietary deficiency of Vitamin C is “extremely rare in the United States.” 56 FR
22   60624. Defendant has not added Vitamin C or E to its Products to “restore” levels of nutrients to
23   those of the beverage before storage. The third basis for fortification relates to foods that are
24   fortified to contain all 21 specified nutrients. See 21 C.F.R. § 104.20(d)(3). Defendant’s Products
25   do not contain all 21 nutrients. The fourth basis for fortification is inapplicable because there is
26   no basis on which to conclude that the Products replace a traditional food. Therefore, the
27   Products violate the Fortification Policy because none of the conditions for fortification have
28   been met.
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 1          45.     In addition to being unlawful, the nutrient content claims on the Products are also
 2   separately misleading.
 3          46.     Reasonable consumers rely on the label claims to decide to purchase the
 4   Products for children well under two years old. Reasonable consumers shopping in the baby
 5   food aisle of a grocery or online retailer see the Products alongside products intended for
 6   children as young as six months and purchase the Products for their baby or toddler under the
 7   age of two.
 8          47.     The nutrient content claims on the Products mislead reasonable consumers into
 9   believing the Products will provide physical health benefits for their children, when in fact the
10   Products are harmful.
11          48.     The FDA has long warned that nutrient content claims could be misleading. For
12   example, in the context of express claims such as “4g PROTEIN,” in published guidance the
13   FDA has stated that “since many consumers have a limited knowledge and understanding of the
14   amounts of nutrients that are recommended for daily consumption, a statement declaring that
15   the product contained a specified amount of a nutrient could be misleading.” 56 Fed. Reg.
16   60421, 60426. This is especially true in the context of children under two because there are
17   different recommended daily intakes for nutrients for children under two because there are
18   different recommended daily intakes for nutrients for children 0-12 months; 1-3 years; and 4
19   years and above.
20          49.     FDA has also explained that “[b]y its very presence, such a [quantitative]
21   statement could give consumers who were unfamiliar with the dietary recommendations the
22   false impression that the product would assist them in maintaining healthy dietary practices
23   relative to the amount of the nutrient consumed when it, in fact, would not.” Id
24          50.     The FDA described the purpose of nutrient content claim regulations to be
25   “promoting sound nutrition for the nation’s consumers.” 56 Fed. Reg. 60421. The FDA relies on
26   the USDA’s development of Dietary Guidelines as the basis for encouraging and discouraging
27   the “selection of foods containing low or high levels of certain nutrients as part of an overall diet.”
28   Id.
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 1          51.     The FDA forbids nutrient content claims on products intended for children under
 2   two because “the agency lacks evidence that a more restrictive dietary pattern for other nutrients
 3   such as sodium or an increased intake for nutrients such as fiber are appropriate and
 4   recommended for infants and toddlers.” 56 Fed. Reg. 60421; see also 58 Fed. Reg. 33731,
 5   33733. Although it has been nearly thirty years, not much has changed regarding the evidence
 6   as explained below.
 7          52.     At the time the regulation was implemented, there were Recommended Daily
 8   Intakes (“RDI”) and Daily Recommended Values (“DRV”) for most nutrients for children under
 9   two. See 58 Fed. Reg. 2302, 2305 (stating there are RDIs for children under two); 58 FR 2206,
10   2211 (providing the RDIs). Despite knowing the target daily intake of nutrients for these ages,
11   the FDA concluded that it would not be appropriate to promote nutrients on labels for this young
12   group because “relatively little attention has been given” to the dietary patterns of children under
13   two. 56 Fed. Reg. 60421; see also 60 Fed. Reg. 67184, 67191.
14          53.     The same is true today. For example, there are still RDIs and DRVs for most
15   nutrients for children under two. Just as in 1991, the RDIs and DRVs of nutrients is different for
16   different ages, with a different set of values for children 0-12 months, 1-3 years old, and 4 and
17   above. 21 C.F.R. § 101.9(c)(8)(4). And just as in 1991, in 2020 a USDA working group
18   concluded “[d]eveloping recommended food patterns for infants and toddlers ages 6 to 24
19   months is challenging. . . in part because the scientific evidence for many questions is relatively
20   scant.” Dietary Guidelines Advisory Committee. 2020. Scientific Report of the 2020 Dietary
21   Guidelines Advisory Committee: Advisory Report to the Secretary of Agriculture and the
22   Secretary of Health and Human Services. (hereinafter “2020 Scientific Report”).1
23          54.     Children under two have unique dietary needs because they are experiencing huge
24   amounts of growth, but eating relatively little solid food. Therefore, it is important that children
25   under two receive the “most nutrient dense foods available in the household.” Dewey KG. The
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28    U.S. Department of Agriculture, Agricultural Research Service, Washington, DC. Available at:
     https://doi.org/10.52570/DGAC2020
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 1   challenge of meeting nutrient needs of infants and young children during the period of
 2   complementary feeding: an evolutionary perspective. J Nutr. 2013 Dec;143(12):2050-4. doi:
 3   10.3945/jn.113.182527. Epub 2013 Oct 16. PMID: 24132575; PMCID: PMC3827643.
 4          55.     Dietary needs for children under two are also different from those of adults
 5   because the optimal diet for children under two also has to address needs beyond mere nutrition,
 6   such as developing neural pathways in the brain to establish healthy eating habits and developing
 7   gross and fine motor skills. The USDA-recommended diet for children under two includes
 8   nutrient-dense foods that promote exposure to new flavors and textures. Dietary Guidelines for
 9   Americans, 2020-2025. 9th Edition. December 2020. Available at DietaryGuidelines.gov
10   (hereinafter “USDA Dietary Guidelines”). The Dietary Guidelines emphasize that the period of
11   0-24 months “is key for establishing healthy dietary patterns that may influence the trajectory of
12   eating behaviors and health throughout the life course. . . . Children in this age group consume
13   small quantities of foods, so it’s important to make every bite count!” Dietary Guidelines at 53.
14   By making nutrient content claims on its packages’ front labels, Defendant misleads consumers
15   into believing that foods for children under two should be purchased based on the quantities of
16   the listed nutrients, when other considerations are just as, or more, important.
17          56.     The Guidelines also recommend that children “younger than age 2” completely
18   “[a]void foods and beverages with added sugars.” Dietary Guidelines at 61. Some Products have
19   high amounts of added sugars. For example, the Spaghetti Rings in Meat Sauce have 3 grams
20   added sugar, the Fruit & Yogurt Strawberry Banana pouch has 5 grams added sugar, and the
21   Grain & Grow bars have 4 grams of added sugar.
22          57.     The World Health Organization has also recognized the dangers inherent in
23   pouch products. Recognizing that “[p]ureeing foods means much of the intrinsic sugar (within
24   cell walls of fruit and vegetables) is liberated and readily available,” the WHO—while
25   endorsing the consumption of whole fruits and vegetables—has stated that “pureed foods” “sold
26   in pouches with spouts present[] several issues[,]” including “exposure to high concentrations of
27   free sugars that may quickly be absorbed,” “lower nutrient density,” and “issues with sucking
28   directly from the pouches,” such as “t[oo]th decay” from “sucking these [sugary] foods across
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 1   the teeth.”2
 2             58.     The Products have high amounts of free sugars. For example, the “wonderfoods”
 3   pouch products have 8-20 grams of sugar.
 4             59.     The impact of sugar from whole fruits is different than the impact of pureed
 5   fruits on the body. This is mainly due to the transformation of the fiber in the food. In a whole
 6   apple, for example, the fiber comes in two forms: soluble and insoluble. Having both forms of
 7   fiber is important in the body’s ability to process the sugars in the fruit in a way that promotes
 8   satiety and protects the liver. When pureed, the apple is stripped of insoluble fiber and the liver
 9   is no longer protected from the sugar in the food. This is, in part, why consumption of pouches
10   may lead to long term health risks.3
11             60.     This concept is also known as the “food matrix” of a food, which is defined by
12   the USDA as “the nutrient and non-nutrient components of foods and their molecular
13   relationships, i.e., chemical bonds, to each other.”4 The effect of the food matrix is that two
14   foods of identical chemical composition, but with different structures, may have significantly
15   different outcomes for health.
16             61.     The Guidelines also recognize that it is not just what infants and toddlers are fed,
17   but how they are fed, that matters. While some parents begin exposure to solids through the use
18   of purees, purees are not recommended for long-term use because children under two are at a
19   crucial stage of feeding and oral development. Learning to chew and swallow soft foods helps
20   develop speech and multi-sensory experiences that contribute to a palate for a wide range of
21   foods later in life.
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       World Health Organization, “Ending inappropriate promotion of commercially available
25   complementary foods for infants and young children between 6 and 36 months in Europe
     (2019)” available at https://www.euro.who.int/en/health-topics/disease-
26   prevention/nutrition/publications/2019/ending-inappropriate-promotion-of-commercially-
     available-complementary-foods-for-infants-and-young-children-between-6-and-36-months-in-
27   europe-2019.
     3
28       Robert H. Lustig, Metabolical, at 238.
     4
         https://agclass.nal.usda.gov/vocabularies/nalt/concept?uri=https://lod.nal.usda.gov/nalt/17238
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 1           62.     “In addition, feeding experiences with foods provided in different textures and
 2   forms (such as ‘finger foods’) help to develop manual dexterity, hand-eye coordination, and
 3   dexterity of the tongue and other mechanical features involved in chewing and swallowing. The
 4   timely introduction and progression of textures helps to support the development of appropriate
 5   feeding and eating behaviors during childhood.” 2020 Scientific Report, Part D. Ch. 7.
 6           63.     Some professions have noted delays in motor development among kids overly
 7   dependent on pouches.5
 8           64.     A baby consuming a pouch is also more likely to eat more puree than when she is
 9   fed with a spoon. This is problematic in at least two ways: 1) babies are less likely to recognize
10   satiety cues which can contribute to long term health risks; and 2) babies are filling up on purees
11   which are “not good nutritional substitutes for breastmilk or formula in early life”, according to
12   the chair of the American Academy of Pediatrics’ Committee on Nutrition.6
13           65.     As a spokeswoman for the American Academy of Pediatrics said in 2018 of the
14   overuse of baby food pouches, “Parents are feeling reassured that their kids are getting the fruits
15   and vegetables . . . [but] kids need the taste of what the actual food is to come to like it later.”7
16           66.     Indeed, experts have cautioned that relying on pouches like Defendant’s Products
17   the Products too much can be a “gateway to bad long-term snacking habits and routine
18   overeating.”8
19           67.     For these reasons, Defendant marketing the Products as providing physical health
20   benefits for babies and toddlers being a healthful and safe source of nutrients for babies and
21   toddlers is misleading to reasonable consumers and the Products are actually harmful for
22   children under two both nutritionally and developmentally.
23
24
25
     5
       Alice Callahan, “The Truth About Food Pouches,” New York Times, April 17, 2020, available
26   at https://www.nytimes.com/2020/04/17/parenting/baby-food-pouches.html.
     6
       Id.
27   7
       Rachel Cernansky, “Rethinking Baby Food Pouches,” New York Times, June 19, 2018,
28   available at https://www.nytimes.com/2018/06/19/well/rethinking-baby-food-pouches.html.
     8
       Id.
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 1          68.      Defendant’s marketing, advertising, and sale of the Products violates the false
 2   advertising provisions of the Sherman Law (California Health & Safety Code § 110390, et. seq.),
 3   including but not limited to:
 4          a.     Section 110390, which makes it unlawful to disseminate false or misleading food
 5                 advertisements that include statements on products and product packaging or
 6                 labeling or any other medium used to directly or indirectly induce the purchase of a
 7                 food product;
 8          b.     Section 110395, which makes it unlawful to manufacture, sell, deliver, hold, or
 9                 offer to sell any falsely or misleadingly advertised food; and
10          c.     Sections 110398 and 110400, which make it unlawful to advertise misbranded
11                 food or to deliver or proffer for delivery any food that has been falsely or
12                 misleadingly advertised.
13          69.      Defendant’s marketing, advertising, and sale of the Products violates the
14   misbranding provisions of the Sherman Law (California Health & Safety Code § 110660, et.
15   seq.), including but not limited to:
16          a.     Section 110665 (a food is misbranded if its labeling does not conform with the
17                 requirements for nutrition labeling as set forth in 21 U.S.C. Sec. 343(q));
18          b.     Section 110760, which makes it unlawful for any person to manufacture, sell,
19                 deliver, hold, or offer for sale any food that is misbranded;
20          c.     Section 110765, which makes it unlawful for any person to misbrand any food;
21                 and
22          d.     Section 110770, which makes it unlawful for any person to receive in commerce
23                 any food that is misbranded or to deliver or proffer for delivery any such food.
24          70.      Defendant has violated 21 U.S.C. § 343(a), and the standards set by FDA
25   regulations, including, but not limited to, 21 C.F.R. §§ 101.13(b), 101.13(c), 101.54(e), and
26   104.20, which have been incorporated by reference in the Sherman Law, by including
27   impermissible nutrient content claims on the labels of foods intended for children less than 2
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 1   years of age, including misleading claims on the labels, and fortifying the foods without
 2   complying with the Fortification Policy.
 3          71.       A reasonable consumer would rely on the label claims to decide to purchase the
 4   Products. For example, Defendant’s nutrient content claims mislead a reasonable consumer to
 5   believe the Products provide physical health benefits for their child when in fact, the Products
 6   are harmful for children under two both nutritionally and developmentally.
 7          72.       Defendant intends for and know that consumers will and do rely upon food
 8   labeling statements in making their purchasing decisions. Label claims and other forms of
 9   advertising and marketing drive product sales, particularly if placed prominently on the front of
10   product packaging, as Defendant has done on the Product labels.
11          73.       Because consumers pay a price premium for Products that have a nutrient
12   content claim, by labeling the Products as providing nutritional value, Defendant is able to both
13   increase its sales and retain more profits.
14          74.       Defendant engaged in the practices complained of herein to further its private
15   interests of: (i) increasing sales of its Products while decreasing the sales of competitors’
16   products that do not make unlawful nutrient content claims, and/or (ii) commanding a higher
17   price for the Products because consumers will pay more for them due to consumers’ demand for
18   healthful products for their children.
19          75.       The market for baby food pouch products continues to grow, and because
20   Defendant knows consumers rely on the nutrient content claims on the Product labels,
21   Defendant has an incentive to continue to make such misleading and unlawful representations.
22          76.       Defendant continues to launch new product lines with nutrient content claims to
23   maintain its competitive edge, making it likely that Defendant will continue to misleadingly
24   advertise its Products.
25                                     V.     PLAINTIFF’S EXPERIENCE
26          75.       Starting in or around 2021, Plaintiff purchased Gerber Products for her child
27   starting when her child was under 2 years of age, including each of the following varieties:
28                •   Strong, Pear, Sweet Potato, Greek Yogurt, Oats, and Cinnamon Pouch
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                   •   Organic for Toddlers, Plant-Tastic Pouch Southwestern Fiesta Fruit & Veggie
 1                     Bean Smash
 2                 •   Organic for Toddlers, Plant-Tastic Pouch Summer Fruit & Veggie Smash
                   •   Mealtime for Toddler, Creamy Chicken Stew
 3                 •   Mealtime for Toddler, Mashed Potatoes & Gravy with Roasted Chicken
                   •   Mealtime for Toddler, Macaroni & Cheese
 4                 •   Mealtime for Toddler, Pasta Stars in Meat Sauce
                   •   Mealtime for Toddler, Pasta Stars with Chicken & Vegetables
 5
                   •   Lil’ Crunchies, Veggie Dip
 6                 •   Lil’ Crunchies, Apple Sweet Potato

 7           77.       She purchased the Products from Safeway in Mountain View, California, and

 8   Walmart in Redwood City, California.

 9           78.       Plaintiff made each of her purchases after reading the nutrient content claims on

10   the Product labels, including, for example, “2g Protein” on the Strong Pear, Sweet Potato,

11   Greek Yogurt, Oats, and Cinnamon pouch. She purchased the Products instead of other

12   products, because she believed the Products to be superior and appropriate in providing

13   nutrition for her child.

14           79.       As a result of Defendant’s unlawful and misleading nutrient content claims, the

15   Products have no, or at a minimum, a much lower value to Plaintiff.

16           80.       Plaintiff not only purchased the Products because the labels contained nutrient

17   content claims, but she also paid more money for the Products than she would have paid for

18   them if they did not contain nutrient content claims.

19           81.       Had Defendant not unlawfully and misleadingly labeled the Products, Plaintiff

20   would not have purchased them or, at a very minimum, she would have paid less for the

21   Products.

22           82.       Plaintiff continues to desire to purchase pouch products, including those

23   marketed and sold by Defendant. If the Products did not contain unlawful, deceptive, and

24   misleading labels, Plaintiff would likely purchase the Products again in the future. Plaintiff

25   regularly shops at stores and online retailers where the Products and other baby food products

26   are sold.

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 1                                   VI.         CLASS ALLEGATIONS
 2          83.      Plaintiff brings this class action lawsuit on behalf of herself and a proposed class
 3   of similarly situated persons, pursuant to Rule 23(b)(2) and (b)(3) of the Federal Rules of Civil
 4   Procedure. Plaintiff seeks to represent the following group of similarly situated persons, defined
 5   as follows:
 6          Class: All persons in the State of California who purchased the Products between August
                   19, 2018 and the present.
 7
 8          84.      This action has been brought and may properly be maintained as a class action
 9   against Defendant because there is a well-defined community of interest in the litigation and the
10   proposed class is easily ascertainable.
11          85.      Numerosity: Plaintiff does not know the exact size the Class, but she estimates
12   that it is composed of more than 100 persons. The persons in the Class are so numerous that the
13   joinder of all such persons is impracticable and the disposition of their claims in a class action
14   rather than in individual actions will benefit the parties and the courts.
15          86.      Common Questions Predominate: This action involves common questions of law
16   and fact to the Class because each class member’s claim derives from the deceptive, unlawful
17   and/or unfair statements and omissions that led them to rely on the unlawful nutrient content
18   claims on the Product labels. The common questions of law and fact predominate over
19   individual questions, as proof of a common or single set of facts will establish the right of each
20   member of the Class to recover. The questions of law and fact common to the Class are:
21          a.       Whether the marketing, advertising, packaging, labeling, and other promotional
22                   materials for the Products are deceptive and/or unlawful;
23          b.       Whether Defendant’s actions violate Federal and California laws invoked herein;
24          c.       Whether labeling the Products with unlawful nutrient content claims causes the
25                   Products to command a price premium in the market as compared with similar
26                   products that do not make such unlawful claims;
27          d.       Whether Defendant’s advertising and marketing regarding the Products was
28                   likely to deceive reasonable consumers;
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 1           e.       Whether representations regarding the nutrient content of the Products are
 2                    material to a reasonable consumer;
 3           f.       Whether Defendant engaged in the behavior knowingly, recklessly, or
 4                    negligently;
 5           g.       The amount of profits and revenues earned by Defendant as a result of the
 6                    conduct;
 7           h.       Whether class members are entitled to restitution, injunctive and other equitable
 8                    relief and, if so, what is the nature (and amount) of such relief; and
 9           i.       Whether class members are entitled to payment of actual, incidental,
10                    consequential, exemplary and/or statutory damages plus interest thereon, and if
11                    so, what is the nature of such relief.
12           87.      Typicality: Plaintiff’s claims are typical of the claims of the other members of
13   the Class because, among other things, all such claims arise out of the same wrongful course of
14   conduct engaged in by Defendant in violation of law as complained of herein. Further, the
15   damages of each member of the Class were caused directly by Defendant’s wrongful conduct in
16   violation of the law as alleged herein.
17           88.      Adequacy of Representation: Plaintiff will fairly and adequately protect the
18   interests of all class members because it is in her best interests to prosecute the claims alleged
19   herein to obtain full compensation due to her for the unfair and illegal conduct of which she
20   complains. Plaintiff also has no interests that are in conflict with, or antagonistic to, the interests
21   of class members. Plaintiff has retained highly competent and experienced class action attorneys
22   to represent her interests and that of the class. By prevailing on her own claims, Plaintiff will
23   establish Defendant’s liability to all class members. Plaintiff and her counsel have the necessary
24   financial resources to adequately and vigorously litigate this class action, and Plaintiff and
25   counsel are aware of their fiduciary responsibilities to the class members and are determined to
26   diligently discharge those duties by vigorously seeking the maximum possible recovery for
27   class members.
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 1          89.     Superiority: There is no plain, speedy, or adequate remedy other than by
 2   maintenance of this class action. The prosecution of individual remedies by members of the
 3   class will tend to establish inconsistent standards of conduct for Defendant and result in the
 4   impairment of class members’ rights and the disposition of their interests through actions to
 5   which they were not parties. Class action treatment will permit a large number of similarly
 6   situated persons to prosecute their common claims in a single forum simultaneously, efficiently,
 7   and without the unnecessary duplication of effort and expense that numerous individual actions
 8   would engender. Furthermore, as the damages suffered by each individual member of the class
 9   may be relatively small, the expenses and burden of individual litigation would make it difficult
10   or impossible for individual members of the class to redress the wrongs done to them, while an
11   important public interest will be served by addressing the matter as a class action.
12          90.     Plaintiff is unaware of any difficulties that are likely to be encountered in the
13   management of this action that would preclude its maintenance as a class action.
14                                       VII.    CAUSES OF ACTION
15          Plaintiff does not plead, and hereby disclaims, causes of action under the FDCA and
16   regulations promulgated thereunder by the FDA. Plaintiff relies on the FDCA and FDA
17   regulations only to the extent such laws and regulations have been separately enacted as state
18   law or regulation or provide a predicate basis of liability under the state and common laws cited
19   in the following causes of action.
20                               PLAINTIFF’S FIRST CAUSE OF ACTION
              (Violation of the Consumers Legal Remedies Act (the “CLRA”), California Civil
21                                      Code § 1750, et seq.)
                                     On Behalf of Herself and the Class
22
            91.     Plaintiff realleges and incorporates the paragraphs of this Class Action
23
     Complaint as if set forth herein.
24
            92.     Plaintiff and other Class members are “consumers” as that term is defined by the
25
     CLRA in California Civil Code § 1761(d).
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 1          93.       The Products that Plaintiff (and other similarly situated Class members)
 2   purchased from Defendant were “goods” within the meaning of California Civil Code §
 3   1761(a).
 4          94.       Defendant’s actions, representations and conduct have violated, and continue to
 5   violate the CLRA, because they extend to transactions that are intended to result, or which have
 6   resulted, in the sale or lease of goods or services to consumers.
 7          95.       Defendant’s acts and practices, set forth in this Class Action Complaint, led
 8   Plaintiff and other similarly situated consumers to falsely believe that the Products provide
 9   physical health benefits for their child when in fact, the Products are harmful for children under
10   two both nutritionally and developmentally. By engaging in the actions, representations and
11   conduct set forth in this Class Action Complaint, Defendant has violated, and continue to
12   violate, § 1770(a)(2), § 1770(a)(5), § 1770(a)(7), and § 1770(a)(8) of the CLRA. In violation of
13   California Civil Code §1770(a)(2), Defendant’s acts and practices constitute improper
14   representations regarding the source, sponsorship, approval, or certification of the goods they
15   sold. In violation of California Civil Code §1770(a)(5), Defendant’s acts and practices
16   constitute improper representations that the goods they sell have sponsorship, approval,
17   characteristics, ingredients, uses, benefits, or quantities, which they do not have. In violation of
18   California Civil Code §1770(a)(7), Defendant’s acts and practices constitute improper
19   representations that the goods it sells are of a particular standard, quality, or grade, when they
20   are of another. In violation of California Civil Code §1770(a)(8), Defendant has disparaged the
21   goods, services, or business of another by false or misleading representation of fact.
22          96.       Plaintiff requests that this Court enjoin Defendant from continuing to employ the
23   unlawful methods, acts and practices alleged herein pursuant to California Civil Code
24   § 1780(a)(2). If Defendant is not restrained from engaging in these types of practices in the
25   future, Plaintiff and the other members of the Class will continue to suffer harm. Plaintiff and
26   those similarly situated have no adequate remedy at law to stop Defendant’s continuing
27   practices.
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 1          97.     Plaintiff provided Defendant with notice and demand that Defendant correct,
 2   repair, replace or otherwise rectify the unlawful, unfair, false and/or deceptive practices
 3   complained of herein. Despite receiving the aforementioned notice and demand, Defendant
 4   failed to do so in that, among other things, it failed to identify similarly situated customers,
 5   notify them of their right to correction, repair, replacement or other remedy, and/or to provide
 6   that remedy. Accordingly, Plaintiff seeks, pursuant to California Civil Code § 1780(a)(3), on
 7   behalf of herself and those similarly situated class members, compensatory damages, punitive
 8   damages and restitution of any ill-gotten gains due to Defendant’s acts and practices.
 9          98.     Plaintiff also requests that this Court award her costs and reasonable attorneys’
10   fees pursuant to California Civil Code § 1780(d).
11                              PLAINTIFF’S SECOND CAUSE OF ACTION
12                (False Advertising, Business and Professions Code § 17500, et seq. (“FAL”))
                                       On Behalf of Herself and the Class
13          99.     Plaintiff reallege and incorporate by reference the paragraphs of this Class
14   Action Complaint as if set forth herein.
15          100.    Beginning at an exact date unknown to Plaintiff, but within three (3) years
16   preceding the filing of the Class Action Complaint, Defendant made untrue, false, deceptive
17   and/or misleading statements in connection with the advertising and marketing of the Products.
18          101.    Defendant made representations and statements (by omission and commission)
19   that led reasonable customers to believe that the Products that they were purchasing were
20   physically beneficial for their young children.
21          102.    Plaintiff and those similarly situated relied to their detriment on Defendant’s
22   misleading and deceptive advertising and marketing practices, including each of the unlawful
23   claims set forth above. Had Plaintiff and those similarly situated been adequately informed and
24   not intentionally deceived by Defendant, they would have acted differently by, without
25   limitation, refraining from purchasing the Products or paying less for them.
26          103.    Defendant’s acts and omissions are likely to deceive reasonable consumers and
27   the general public.
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 1          104.    Defendant engaged in these false, misleading and deceptive advertising and
 2   marketing practices to increase its profits. Accordingly, Defendant has engaged in false
 3   advertising, as defined and prohibited by section 17500, et seq. of the California Business and
 4   Professions Code.
 5          105.    The aforementioned practices, which Defendant used, and continue to use, to its
 6   significant financial gain, also constitute unlawful competition and provide an unlawful
 7   advantage over Defendant’s competitors as well as injury to the general public.
 8          106.    As a direct and proximate result of such actions, Plaintiff and the other Class
 9   members have suffered, and continue to suffer, injury in fact and have lost money and/or
10   property as a result of such false, deceptive and misleading advertising in an amount which will
11   be proven at trial, but which is in excess of the jurisdictional minimum of this Court. In
12   particular, Plaintiff, and those similarly situated, paid a price premium for the Products, i.e., the
13   difference between the price consumers paid for the Products and the price that they would have
14   paid but for Defendant’s false, deceptive and misleading advertising. This premium can be
15   determined by using econometric or statistical techniques such as hedonic regression or conjoint
16   analysis. Alternatively, Plaintiff and those similarly situated will seek a full refund of the price
17   paid upon proof that the sale of the Products was unlawful.
18          107.    Plaintiff seeks equitable relief, including restitution, with respect to her FAL
19   claims. Pursuant to Federal Rule of Civil Procedure 8(e)(2), Plaintiff makes the following
20   allegations in this paragraph only hypothetically and as an alternative to any contrary
21   allegations in their other causes of action, in the event that such causes of action will not
22   succeed. Plaintiff and the Class may be unable to obtain monetary, declaratory and/or injunctive
23   relief directly under other causes of action and will lack an adequate remedy at law, if the Court
24   requires them to show classwide reliance and materiality beyond the objective reasonable
25   consumer standard applied under the FAL, because Plaintiff may not be able to establish each
26   Class member’s individualized understanding of Defendant’s misleading representations as
27   described in this Complaint, but the FAL does not require individualize proof of deception or
28   injury by absent class members. See, e.g., Ries v. Ariz. Bevs. USA LLC, 287 F.R.D. 523, 537
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 1   (N.D. Cal. 2012) (“restitutionary relief under the UCL and FAL ‘is available without
 2   individualized proof of deception, reliance, and injury.’”). In addition, Plaintiff and the Class
 3   may be unable to obtain such relief under other causes of action and will lack an adequate
 4   remedy at law, if Plaintiff is unable to demonstrate the requisite mens rea (intent, reckless,
 5   and/or negligence), because the FAL imposes no such mens rea requirement and liability exists
 6   even if Defendant acted in good faith.
 7          108.    Plaintiff seeks, on behalf of herself and those similarly situated, a declaration that
 8   the above-described practices constitute false, misleading and deceptive advertising.
 9          109.    Plaintiff seeks, on behalf of herself and those similarly situated, an injunction to
10   prohibit Defendant from continuing to engage in the false, misleading and deceptive advertising
11   and marketing practices complained of herein. Such misconduct by Defendant, unless and until
12   enjoined and restrained by order of this Court, will continue to cause injury in fact to the general
13   public and the loss of money and property in that Defendant will continue to violate the laws of
14   California, unless specifically ordered to comply with the same. This expectation of future
15   violations will require current and future consumers to repeatedly and continuously seek legal
16   redress in order to recover monies paid to Defendant to which they are not entitled. Plaintiff,
17   those similarly situated and/or other California consumers have no other adequate remedy at
18   law to ensure future compliance with the California Business and Professions Code alleged to
19   have been violated herein.
20                             PLAINTIFF’S THIRD CAUSE OF ACTION
                           (Common Law Fraud, Deceit and/or Misrepresentation)
21                              On Behalf of Herself and the Class
22          110.    Plaintiff realleges and incorporates by reference the paragraphs of this Class
23   Action Complaint as if set forth herein.
24          111.    Defendant has fraudulently and deceptively included unlawful nutrient content
25   claims on the Product labels.
26          112.    The unlawfulness of the claims was known exclusively to, and actively
27   concealed by, Defendant, not reasonably known to Plaintiff, and material at the time they were
28   made. Defendant’s unlawful statements concerned material facts that were essential to the
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 1   analysis undertaken by Plaintiff as to whether to purchase the Products. In misleading Plaintiff
 2   and not so informing her, Defendant breached its duty to Plaintiff. Defendant also gained
 3   financially from, and as a result of, its breach.
 4           113.     Plaintiff and those similarly situated relied to their detriment on Defendant’s
 5   unlawful representations. Had Plaintiff and those similarly situated been adequately informed
 6   and not intentionally deceived by Defendant, they would have acted differently by, without
 7   limitation: (i) declining to purchase the Products, (ii) purchasing less of them, or (iii) paying
 8   less for the Products.
 9           114.     By and through such fraud, deceit, and unlawful representations, Defendant
10   intended to induce Plaintiff and those similarly situated to alter their position to their detriment.
11   Specifically, Defendant fraudulently and deceptively induced Plaintiff and those similarly
12   situated to, without limitation, purchase the Products.
13           115.     Plaintiff and those similarly situated justifiably and reasonably relied on
14   Defendant’s unlawful representations, and, accordingly, were damaged by Defendant.
15           116.     As a direct and proximate result of Defendant’s unlawful representations,
16   Plaintiff and those similarly situated have suffered damages, including, without limitation, the
17   amount they paid for the Products.
18           117.     Defendant’s conduct as described herein was wilful and malicious and was
19   designed to maximize Defendant’s profits even though Defendant knew that it would cause loss
20   and harm to Plaintiff and those similarly situated.
21                           PLAINTIFF’S FOURTH CAUSE OF ACTION
                    (Unlawful, unfair, and fraudulent trade practices violation of Business and
22                                   Professions Code § 17200, et seq.)
                                        On Behalf of Herself and the Class
23
             118.     Plaintiff realleges and incorporates by reference the paragraphs of this Class
24
     Action Complaint as if set forth herein.
25
             119.     Within four (4) years preceding the filing of this lawsuit, and at all times
26
     mentioned herein, Defendant has engaged, and continue to engage, in unlawful, unfair, and
27
     fraudulent trade practices in California by engaging in the conduct outlined in this Complaint.
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 1           120.    Defendant has engaged, and continue to engage, in unfair practices as described
 2   herein, in violation of the Unfair Competition Law, California Business & Professions Code §§
 3   17200 et seq. (the “UCL”), by, without limitation, including unlawful nutrient content claims on
 4   the Product labels and thereby selling Products that were not capable of being sold or held
 5   legally and which were legally worthless.
 6           121.    Defendant has engaged, and continue to engage, in unlawful practices as
 7   described herein, in violation of the UCL, by, without limitation, violating the following laws:
 8           (i) the CLRA as described herein; (ii) the FAL as described herein; (iii) the advertising
 9   provisions of the Sherman Law (Article 3), including without limitation, California Health &
10   Safety Code §§ 110390, 110395, 110398 and 110400; (iv) the misbranded food provisions of
11   the Sherman Law (Article 6), including without limitation, California Health & Safety Code §§
12   110665, 110760, 110765, and 110770; and (v) and federal laws regulating the advertising and
13   branding of food in 21 U.S.C. § 343, et seq. and FDA regulations, including but not limited to
14   21 C.F.R. §§ 101.13(b), 101.13(c), 101.54(e), and 104.20, which are incorporated into the
15   Sherman Law (California Health & Safety Code §§ 110100(a), 110380, and 110505).
16           122.    Defendant has engaged, and continue to engage, in fraudulent practices as
17   described herein, in violation of the UCL, by, without limitation, including unlawful nutrient
18   content claims on the Product labels and thereby selling Products that were not capable of being
19   sold or held legally and which were legally worthless.
20           123.    Plaintiff and those similarly situated relied to their detriment on Defendant’s
21   unlawful, unfair, and fraudulent business practices. Had Plaintiff and those similarly situated
22   been adequately informed and not deceived by Defendant, they would have acted differently by,
23   without limitation: (i) declining to purchase the Products, (ii) purchasing less of the Products, or
24   (iii) paying less for the Products.
25           124.    Defendant’s acts and omissions are likely to deceive the general public.
26           125.    Defendant engaged in these deceptive and unlawful practices to increase its
27   profits. Accordingly, Defendant has engaged in unlawful trade practices, as defined and
28   prohibited by section 17200, et seq. of the California Business and Professions Code.
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 1          126.    The aforementioned practices, which Defendant has used to its significant
 2   financial gain, also constitute unlawful competition and provide an unlawful advantage over
 3   Defendant’s competitors as well as injury to the general public.
 4          127.    As a direct and proximate result of such actions, Plaintiff and the other Class
 5   members, have suffered and continue to suffer injury in fact and have lost money and/or
 6   property as a result of such deceptive and/or unlawful trade practices and unfair competition in
 7   an amount which will be proven at trial, but which is in excess of the jurisdictional minimum of
 8   this Court. In particular, Plaintiff and those similarly situated paid a price premium for the
 9   Products, i.e., the difference between the price consumers paid for the Products and the price
10   that they would have paid but for Defendant’s misrepresentation. This premium can be
11   determined by using econometric or statistical techniques such as hedonic regression or conjoint
12   analysis. Alternatively, Plaintiff and those similarly situated will seek a full refund of the price
13   paid upon proof that the sale of the Products was unlawful.
14          128.    As a direct and proximate result of such actions, Defendant has enjoyed, and
15   continue to enjoy, significant financial gain in an amount which will be proven at trial, but
16   which is in excess of the jurisdictional minimum of this Court.
17          129.    Plaintiff seeks, on behalf of herself and those similarly situated, equitable relief,
18   including restitution for the premium and/or the full price that they and others paid to Defendant
19   as result of Defendant’s conduct. Plaintiff and the Class lack an adequate remedy at law to
20   obtain such relief with respect to their “unfairness” claims in this UCL cause of action, because
21   there is no cause of action at law for “unfair” conduct. Plaintiff and the Class similarly lack an
22   adequate remedy at law to obtain such relief with respect to their “unlawfulness” claims in this
23   UCL cause of action because the Sherman Law (Articles 3 and 6) and the Federal laws and
24   regulations referenced herein do not provide a direct cause of action, so Plaintiff and the Class
25   must allege those violations as predicate acts under the UCL to obtain relief.
26          130.    Plaintiff also seeks equitable relief, including restitution, with respect to her UCL
27   unlawfulness claims for violations of the CLRA, FAL and her UCL “fraudulent” claims.
28   Pursuant to Federal Rule of Civil Procedure 8(e)(2), Plaintiff makes the following allegations in
                                                 - 27 -
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 1   this paragraph only hypothetically and as an alternative to any contrary allegations in their other
 2   causes of action, in the event that such causes of action do not succeed. Plaintiff and the Class
 3   may be unable to obtain monetary, declaratory and/or injunctive relief directly under other
 4   causes of action and will lack an adequate remedy of law, if the Court requires them to show
 5   classwide reliance and materiality beyond the objective reasonable consumer standard applied
 6   under the UCL, because Plaintiff may not be able to establish each Class member’s
 7   individualized understanding of Defendant’s misleading representations as described in this
 8   Complaint, but the UCL does not require individualized proof of deception or injury by absent
 9   class members. See, e.g., Stearns v Ticketmaster, 655 F.3d 1013, 1020, 1023-25 (distinguishing,
10   for purposes of CLRA claim, among class members for whom website representations may
11   have been materially deficient, but requiring certification of UCL claim for entire class). In
12   addition, Plaintiff and the Class may be unable to obtain such relief under other causes of action
13   and will lack an adequate remedy at law, if Plaintiff is unable to demonstrate the requisite mens
14   rea (intent, reckless, and/or negligence), because the UCL imposes no such mens rea
15   requirement and liability exists even if Defendant acted in good faith.
16          131.    Plaintiff seeks, on behalf of herself and those similarly situated, a declaration that
17   the above-described trade practices are fraudulent, unfair, and/or unlawful.
18          132.    Plaintiff seeks, on behalf of herself and those similarly situated, an injunction to
19   prohibit Defendant from continuing to engage in the deceptive and/or unlawful trade practices
20   complained of herein. Such misconduct by Defendant, unless and until enjoined and restrained
21   by order of this Court, will continue to cause injury in fact to the general public and the loss of
22   money and property in that Defendant will continue to violate the laws of California, unless
23   specifically ordered to comply with the same. This expectation of future violations will require
24   current and future consumers to repeatedly and continuously seek legal redress in order to
25   recover monies paid to Defendant to which they were not entitled. Plaintiff, those similarly
26   situated and/or other consumers nationwide have no other adequate remedy at law to ensure
27   future compliance with the California Business and Professions Code alleged to have been
28   violated herein.
                                                - 28 -
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 1                                PLAINTIFF’S FIFTH CAUSE OF ACTION
                                        (Unjust Enrichment)
 2                                   On Behalf of Herself and the Class
 3          133.     Plaintiff realleges and incorporates by reference all paragraphs alleged herein.
 4          134.     Plaintiff and members of the Class members conferred a benefit on the
 5   Defendant by purchasing the Products.
 6          135.     Defendant has been unjustly enriched in retaining the revenues from Plaintiff’s
 7   and Class Members’ purchases of the Products, which retention is unjust and inequitable,
 8   because Defendant sold Products that were not capable of being sold or held legally and which
 9   were legally worthless. Plaintiff paid a premium price for the Products.
10          136.     Because Defendant’s retention of the non-gratuitous benefit conferred on them
11   by Plaintiff and Class members is unjust and inequitable, Defendant must pay restitution and
12   nonrestitutionary disgorgement of profits to Plaintiff and the Class members for its unjust
13   enrichment, as ordered by the Court. Plaintiff and those similarly situated have no adequate
14   remedy at law to obtain this restitution.
15          137.     Plaintiff, therefore, seeks an order requiring Defendant to pay nonrestitutionay
16   disgorement of profits and make restitution to them and other members of the Class.
17                                   VIII.       PRAYER FOR RELIEF
18          WHEREFORE, Plaintiff, on behalf of herself and those similarly situated, respectfully
19   requests that the Court enter judgement against Defendant as follows:
20          A.       Certification of the proposed Class, including appointment of Plaintiff’s counsel
21   as class counsel;
22          B.       An order temporarily and permanently enjoining Defendant from continuing the
23   unlawful, deceptive, fraudulent, and unfair business practices alleged in this Com-plaint;
24          C.       An award of compensatory damages in an amount to be determined at trial;
25          D.       An award of statutory damages in an amount to be determined at trial;
26          E.       An award of punitive damages in an amount to be determined at trial;
27          F.       An award of treble damages;
28          G.       An award of restitution in an amount to be determined at trial;
                                                 - 29 -
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 1   H.       An award of nonrestitutionary disgorgement of profits in an amount to be
 2            determined at trial;
 3   I.       An order requiring Defendant to pay both pre- and post-judgment interest on any
 4            amounts awarded;
 5   J.       For reasonable attorney’s fees and the costs of suit incurred; and
 6   J.       For such further relief as this Court may deem just and proper.
 7                           IX.     JURY TRIAL DEMANDED
 8   Plaintiff hereby demands a trial by jury.
     DATED: August 19, 2022
 9                                               GUTRIDE SAFIER LLP
10
11                                               /s/ Seth A. Safier /s/
                                                 Seth A. Safier (State Bar No. 197427)
12                                               seth@gutridesafier.com
                                                 Marie A. McCrary (State Bar No. 262670)
13
                                                 marie@gutridesafier.com
14                                               Hayley Reynolds (State Bar No. 306427)
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15                                               100 Pine Street, Suite 1250
                                                 San Francisco, California 94111
16                                               Telephone: (415) 336-6545
                                                 Facsimile: (415) 449-6469
17
18                                               Attorneys for Plaintiff Tracy Howard

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                                   CLASS ACTION COMPLAINT
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                                                          Exhibit A

          Product                Nutrient Content             Age           Front Label     Back Label
                                     Claims
Organic for Toddler
Plant-Tastic Pouches
Organic for Toddlers           2 grams of Plant        Toddler 12+ Months
Plant-Tastic Pouch Banana      Protein
Berry & Veggie Smash with
Oats                           Nutritious, plant-
                               based, and specially
                               designed to provide 2
                               grams of protein
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          Product                  Nutrient Content             Age           Front Label     Back Label
                                         Claims
Organic for Toddlers             2 grams of Plant        Toddler 12+ Months
Plant-Tastic Pouch Sweet         Protein
Potato Cherry Smash with Oats
                                 Nutritious, plant-
                                 based, and specially
                                 designed to provide 2
                                 grams of protein




Organic for Toddlers             2 grams of Plant        Toddler 12+ Months
Plant-Tastic Pouch               Protein
Southwestern Fiesta Fruit &
Veggie Bean Smash                Nutritious, plant-
                                 based, and specially
                                 designed to provide 2
                                 grams of protein
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          Product                Nutrient Content             Age           Front Label     Back Label
                                       Claims
Organic for Toddlers           2 grams of Plant        Toddler 12+ Months
Plant-Tastic Pouch Summer      Protein
Fruit & Veggie Smash
                               Nutritious, plant-
                               based, and specially
                               designed to provide 2
                               grams of protein




Organic for Toddlers
Pouches
Organic for Toddlers           1 ½ servings of Fruit   Toddler 12+ Months
Banana Raspberry & Yogurt
with Vanilla
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          Product               Nutrient Content             Age           Front Label     Back Label
                                      Claims
Organic for Toddlers          1 serving of            Toddler 12+ Months
Wonderfoods                   superfoods
Banana Strawberry Beet
Oatmeal                       Wonderfoods awaken
                              toddler’s love for
                              nutritious foods

                              Big nutrition to help
                              make every bite
                              count. 1 serving of
                              nutrient-dense
                              superfoods per pouch.




Organic for Toddlers          1 serving of            Toddler 12+ Months
Wonderfoods                   superfoods
Mango Peach Carrot Sweet
Potato Oatmeal                Wonderfoods awaken
                              toddler’s love for
                              nutritious foods

                              Big nutrition to help
                              make every bite
                              count. 1 serving of
                              nutrient-dense
                              superfoods per pouch.
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         Product                Nutrient Content                  Age    Front Label       Back Label
                                    Claims
Organic for Baby Pouches
Organic for Baby              2 servings of           Sitter 2 Foods
                                                             nd



Wonderfoods                   superfoods
Banana Mango Puree
                              Wonderfoods awaken
                              baby’s love for
                              nutritious foods

                              Big nutrition to help
                              make every bite
                              count. 2 servings of
                              nutrient-dense
                              superfoods per pouch.




Organic for Baby              1 ¼ servings of         Sitter 2nd Foods
Wonderfoods                   superfoods
Carrot Apple Mango




Natural for Baby Pouches
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          Product             Nutrient Content                  Age       Front Label    Back Label
                                   Claims
Natural for Toddler         1 ½ servings of          Toddler 12+ Months
Wonderfoods                 superfoods
Banana Blueberry *with
Vitamin C                   With Vitamin C

                            Wonderfoods awaken
                            toddler’s love for
                            nutritious foods

                            Big nutrition to help
                            make every bite
                            count. 1 ½ servings of
                            superfoods per pouch.

Natural for Baby            2 servings of            Sitter 2 Foods
                                                           nd



Wonderfoods                 superfoods
Banana *with
Vitamin C                   With Vitamin C

                            Wonderfoods awaken
                            baby’s love for
                            nutritious foods

                            Big nutrition to help
                            make every bite
                            count. 2 servings of
                            superfoods per pouch.
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          Product                Nutrient Content              Age       Front Label        Back Label
                                        Claims
Natural for Baby Veggie        1 full serving of    Sitter 2 Foods
                                                          nd



Power                          Veggies
Sweet Potato Mango Pear &
Kale *with Vitamin C           With Vitamin C
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          Product                  Nutrient Content              Age       Front Label        Back Label
                                          Claims
Natural for Baby Veggie          1 full serving of    Sitter 2 Foods
                                                            nd



Power                            veggies
Mixed Carrot
Apple & Coriander *with          With Vitamin C
Vitamin C




Natural for Baby Veggie          1 ¾ servings of      Sitter 2 Foods
                                                            nd



Power                            veggies
Carrot, Tomato & Basil with
Balsamic Vinegar *with           With Vitamin C
Vitamin C
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          Product                Nutrient Content              Age       Front Label        Back Label
                                        Claims
Natural for Baby Veggie        1 full serving of    Sitter 2 Foods
                                                          nd



Power                          veggies
Parsnip, Apple and Ginger
*with Vitamin C                With Vitamin C




Natural for Baby               1 full serving of    Sitter 2 Foods
                                                          nd



Veggie Power                   veggies
Pumpkin Banana Carrot
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          Product                Nutrient Content              Age       Front Label        Back Label
                                        Claims
Natural for Baby Veggie        1 full serving of    Sitter 2 Foods
                                                          nd



Power                          veggies
Broccoli Carrot Banana
Pineapple *with Vitamin C      With Vitamin C




Natural for Toddler Pouches
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          Product               Nutrient Content             Age           Front Label     Back Label
                                     Claims
Natural for Toddler           1 ½ servings of Fruit   Toddler 12+ Months
Apple Pear Peach *with
Vitamin C & E                 With Vitamin C & E

                              Gerber Natural for
                              Toddlers brings the
                              goodness of naturally
                              nutritious fruits
                              selected and made
                              with strict quality
                              standards just for
                              toddlers.




Natural for Toddler           2 full servings of      Toddler 12+ Months
Apple Sweet Potato &          Fruit/Veggie
Cinnamon *with Vitamin C
                              With Vitamin C, E

                              Gerber Natural for
                              Toddlers brings the
                              goodness of naturally
                              nutritious fruits
                              selected and made
                              with strict quality
                              standards just for
                              toddlers.
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          Product               Nutrient Content          Age           Front Label       Back Label
                                       Claims
Natural for Toddler           1 full serving of    Toddler 12+ Months
Sweet Potato, Mango, Pear &   veggies
Kale with Vitamin C & E
                              with Vitamin C & E
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          Product              Nutrient Content           Age           Front Label      Back Label
                                   Claims
Meal Time for Toddler
Mealtime for Toddler         4g Protein            Toddler 12+ Months
Creamy Chicken Stew
                             ¼ cup of farm-grown
                             veggies




Mealtime for Toddler         5g Protein            Toddler 12+ Months
Mashed Potatoes & Gravy with
Roasted Chicken
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           Product               Nutrient Content          Age           Front Label        Back Label
                                      Claims
Mealtime for Toddler           6g Protein           Toddler 12+ Months
Macaroni & Cheese




Mealtime for Toddler           4g Protein           Toddler 12+ Months
Pasta Stars in Meat Sauce
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          Product                 Nutrient Content           Age           Front Label       Back Label
                                       Claims
Mealtime for Toddler            5g Protein            Toddler 12+ Months
Pasta Stars with Chicken &
Vegetables




Mealtime for Toddler            6g Protein            Toddler 12+ Months
Spaghetti Rings in Meat Sauce
                                ¼ cup of farm-grown
                                veggies
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          Product                 Nutrient Content           Age           Front Label       Back Label
                                       Claims
Mealtime for Toddler            3g Protein            Toddler 12+ Months
Pickups Chicken and Carrot
Ravioli




Mealtime for Toddler            5g Protein            Toddler 12+ Months
Yellow Rice & Chicken
                                ¼ cup of farm-grown
                                veggies
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           Product                 Nutrient Content           Age           Front Label       Back Label
                                        Claims
Mealtime for Toddler             3g Protein            Toddler 12+ Months
Turkey & Vegetable Ravioli




Mealtime for Toddler             5g Protein            Toddler 12+ Months
Spiral Pasta in Turkey Meat      ¼ cup of farm-grown
Sauce                            veggies
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          Product            Nutrient Content          Age           Front Label        Back Label
                                  Claims
Mealtime for Toddler       6g Protein           Toddler 12+ Months
Pasta Shells & Cheese




Mealtime Harvest Bowl      1 full serving of    Toddler 12+ Months
Spanish-Style Sofrito      veggies




Mealtime Harvest Bowl      1 full serving of    Toddler 12+ Months
Pesto                      veggies
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          Product                Nutrient Content           Age           Front Label       Back Label
                                     Claims
Snacks and Strong Pouches
Grow Strong                    Grow Strong           Toddler 12+ Months
Pear, Sweet Potato, Greek      2g Protein
Yogurt, Oats, Cinnamon
                               Supports toddler’s
                               healthy growth with
                               15%DV of calcium
                               and 2g of protein.




Snacks for Toddler             Grow Strong           Toddler 12+ Months
Grow Strong                    2 grams of Protein
Banana Blueberry Purple
Carrot Greek Yogurt Mixed      Supports Toddler’s
Grains                         healthy growth with
                               15%DV of calcium
                               and
                               2 g of protein.
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          Product               Nutrient Content              Age           Front Label    Back Label
                                      Claims
Snacks for Toddler            1 serving of fruit       Toddler 12+ Months
Fruit & Yogurt pouch
Strawberry Banana




Snacks for Baby
Wonderfoods
Snacks for Baby               10% DV of Vit C,         Crawler 10+ Months
Wonderfoods                   15% Vit E and 20%
Superfood Hearts              Iron to help support a
Quinoa Strawberry Banana      healthy IMMUNE
Broccoli                      SYSTEM

                              Made with Super
                              foods whole grains

                              20% DV Iron to help
                              support healthy
                              BRAIN
                              DEVELOPMENT
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          Product                 Nutrient Content              Age           Front Label    Back Label
                                        Claims
                                Wonderfoods awaken
                                baby’s love for
                                nutritious foods
Snacks for Baby                 10% DV of Vit C,         Crawler 10+ Months
Wonderfoods                     15% Vit E and 20%
Superfood Hearts                Iron to help support a
Quinoa Orange & Carrot          healthy IMMUNE
                                SYSTEM

                                Made with Super
                                foods whole grains

                                20% DV Iron to help
                                support healthy
                                BRAIN
                                DEVELOPMENT

                                Wonderfoods awaken
                                baby’s love for
                                nutritious foods

Organic for Toddler Plant-
Tastic Snacks
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          Product                 Nutrient Content              Age           Front Label    Back Label
                                       Claims
Organic for Toddler             Made with Real           Toddler 12+ months
Plant-tastic                    veggies & fruits
plantsYUM Hearts
Lentil Banana Carrot            Nutritious plant-based
Raspberry                       ingredients, carefully
                                selected to provide 4
                                grams of whole grains
                                with a taste that
                                toddlers love.




Organic for Toddler             3g of Plant Protein      Toddler 12+ Months
Plant-tastic
Harvest Bowl                    1 ¾ servings of
Mediterranean Style Medley      Veggies

                                Nutritious, plant-
                                based, and specially
                                designed to provide 3
                                grams of protein.
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              Product              Nutrient Content             Age           Front Label     Back Label
                                        Claims
Organic for Toddler              2g of Plant-Protein     Toddler 12+ Months
Plant-tastic
Harvest Bowl                     1 serving of Veggies
Vegan Mac
                                 Nutritious, plant-
                                 based, and specially
                                 designed to provide 2
                                 grams of protein.

Organic for Toddler              2g of Plant Protein     Toddler 12+ Months
Plant-tastic Lil’ Crunchies      per serving
White Bean Hummus
                                 Made with real
                                 veggies




Lil’ Sticks
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              Product        Nutrient Content              Age           Front Label    Back Label
                                  Claims
Lil’ Sticks                9g Protein per serving   Toddler 12+ Months
Chicken




Lil’ Sticks                9g Protein               12+ Months
Turkey




Lil’ Crunchies
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           Product        Nutrient Content             Age          Front Label      Back Label
                                Claims
Lil’ Crunchies          2g of wholegrains per   Crawler 8+ Months
Veggie Dip              serving




Lil’ Crunchies          2g of wholegrains per   Crawler 8+ Months
Ranch                   serving
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          Product            Nutrient Content             Age          Front Label      Back Label
                                   Claims
Lil’ Crunchies             2g of wholegrains per   Crawler 8+ Months
Garden Tomato              serving




Lil’ Crunchies             2g of wholegrains per   Crawler 8+ Months
Apple Sweet Potato         serving




Grain & Grow Products
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          Product               Nutrient Content          Age           Front Label       Back Label
                                      Claims
Organic Grain & Grow          12g WHOLE            Crawler 10+ months
Morning Bowl                  GRAINES per
Oats, Red Quinoa & Farro with serving
Tropical Fruits




Organic Grain & Grow          10g WHOLE            Crawler 10+ months
Morning Bowl                  GRAINS per serving
Oats, Barley and Red Quinoa
with Banana & Summer
Berries
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          Product                Nutrient Content         Age            Front Label        Back Label
                                      Claims
Organic Grain & Grow Soft      4g of WHOLE          12+ Months
Baked Grain Bars               GRAINS per serving
Banana Mango Pineapple




Organic Grain & Grow Soft      4g of WHOLE          12+ Months
Baked Grain Bars               GRAINS per serving
Raspberry Pomegranate
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 1

 2          I, Tracy Howard, declare:

 3          1.      I am a Plaintiff in this action. If called upon to testify, I could and would

 4 competently testify to the matters contained herein based upon my personal knowledge.

 5          2.      I submit this Declaration pursuant to California Code of Civil Procedure section

 6 2215.5 and California Civil Code section 1780(d).

 7          3.      I reside in and make my permanent home in Redwood City, California. In the last

 8 two years, I purchased Gerber products for my child when he was under the age of two, including

 9 the following Products:
                  Strong, Pear, Sweet Potato, Greek Yogurt, Oats, and Cinnamon Baby Food Pouch.
10
                  Organic for Toddlers, Plant-Tastic Pouch Southwestern Fiesta Fruit & Veggie Bean
11                Smash
                  Organic for Toddlers, Plant-Tastic Pouch Summer Fruit & Veggie Smash
12                Mealtime for Toddler, Creamy Chicken Stew
                  Mealtime for Toddler, Mashed Potatoes & Gravy with Roasted Chicken
13
                  Mealtime for Toddler, Macaroni & Cheese
14                Mealtime for Toddler, Pasta Stars in Meat Sauce
                  Mealtime for Toddler, Pasta Stars with Chicken & Vegetables
15                Lil’ Crunchies, Veggie Dip
                  Lil’ Crunchies, Apple Sweet Potato
16

17
            4.      I purchased the products from Walmart in Mountain View, CA, and Safeway in
18
     Redwood City, CA.
19

20
            I declare under penalty of perjury under the laws of California that the foregoing is true
21
     and correct.
22
            Executed on                  , in Redwood City, California.
23

24

25
                                                         __________________________
26                                                       Tracy Howard
27

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                     DECLARATION RE CAL. CIV. CODE SECTION 1780(D) JURISDICTION
